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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
UNITED STATES OF AMERICA ) INDICTMENT NO.
)
Vv. ) 18 U.S.C. § 922(0)(1)
) Illegal Possession ofa
JODARRIUS VAUGHNER ) Machinegun
THE GRAND JURY CHARGES THAT: CR 1 ie, i Py 0 ? 3
COUNT ONE

Illegal Possession of a Machinegun
18 U.S.C. § 922(0)(1)

On or about January 11, 2023, in Jefferson County, within the Southern

District of Georgia, the defendant,
JODARRIUS VAUGHNER,

did knowingly possess a machinegun, as defined in Title 26, United States Code,
Section 5845(b), namely a Glock, Model 29, 10mm caliber pistol, bearing serial
number BWTW796, which had been converted to shoot automatically more than one
shot with a single function of the trigger, and a conversion device, also known as a an
“auto sear” a part designed solely and exclusively for use in converting a weapon into

a machinegun.

Allin violation of Title 18, United States Code, Section 922(0)(1).
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FORFEITURE ALLEGATION

The allegations contained in Count One of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeitures pursuant

to Title 18, United States Code, Section 924(d) and Title 28, United States Code,

Section 2461(c).

Upon conviction of the offense set forth in Count One, the defendant,

JODARRIUS VAUGHNER, shall forfeit to the United States pursuant to Title 18,

United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c),

any firearm and ammunition involved in the commission of the offense(s), including,

but not limited to, a Glock, Model 29, 10mm caliber pistol, S/N BWTW796.

If any of the property described above, as a result of any act or commission of

the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be
divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p) as incorporated by Title 28,

United States Code, Section 2461(c).

{signatures on next page}

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